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                IN THE UNITED STATES DISTRICT COURT


               FOR THE SOUTHERN DISTRICT OP GEORGIA
                                                         ''nnMAR^i PHI2: 16

                          SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,


               Plaintiff,

                                            4:16CR354


DAVID LEE GOTTSCHALK, ET AL,


              Defendants.




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this            day of March, 2017.




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
